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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF ARKANSAS
                          CENTRAL DIVISION

GARY HOLMES                                                                 PLAINTIFF
ADC #127662

v.                        CASE NO. 4:20-CV-00878-BSM

KARA BELUE, et al.                                                      DEFENDANTS

                                    JUDGMENT

     Consistent with the order entered today, this case is dismissed without prejudice.

     IT IS SO ORDERED, this 19th day of October, 2020.


                                                 ________________________________
                                                 UNITED STATES DISTRICT JUDGE
